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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1238V
                                          UNPUBLISHED


    BELINDA DAWSON-SAVARD,                                      Chief Special Master Corcoran

                         Petitioner,                            Filed: August 14, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Decision Awarding Damages; Pain
    HUMAN SERVICES,                                             and Suffering; Influenza (Flu)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On September 12, 2017, Belinda Dawson-Savard filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) as a result of an influenza (“flu”) vaccine administered
on October 10, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On December 12, 2019, I issued a ruling finding Petitioner entitled to compensation
ECF 56. A damages order was issued that same day. ECF 57. The parties were unable
to reach a resolution on the appropriate amount of damages, specifically, the amount to


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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be awarded for Petitioner’s pain and suffering. 3 ECF 61. After giving the parties an
opportunity to file written briefs on the issue, I scheduled this matter for an expedited
hearing, which was held on June 26, 2020.

        On July 14, 2020, I issued a damages ruling, awarding Petitioner $130,000.00 for
her actual (or past) pain and suffering and $13,500.00 for future pain and suffering. ECF
74. 4 That ruling is incorporated herein as if fully set forth. In the ruling, I ordered the parties
to file a joint status report converting the award of future pain and suffering to its net
present value 5 and to report on all other outstanding items of damages that remain
unresolved, if any. Id. On August 13, 2020, the parties filed a joint status report agreeing
that the net present value of the award for Petitioner’s future pain and suffering is
$11,009.25. ECF 78. They also reported that there are no remaining unresolved issues
regarding damages. Id.

       Therefore, I award Petitioner a lump sum payment of $169,184.49 in the form
of a check payable to Petitioner. Specifically, I find that Petitioner is entitled to
$130,000.00 for actual (or past) pain and suffering; $11,009.25 in future pain and
suffering; $28,030.13 in lost wages; and $145.11 in unreimbursed expenses. This
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 6

IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
 The parties had reached agreement on lost wages and unreimbursed expenses. See ECF 62 and ECF
67.
4
    I also awarded Petitioner $28,030.13 in lost wages and $145.11 in unreimbursed expenses.
5
  I ordered the parties to calculate net present value by using my calculation in Dillenbeck v. Sec’y of
Health & Human Servs., No. 17-428V, 2019 WL 4072069 at *15 (Fed. Cl. Spec. Mstr. July 29, 2019) aff’d
in rel. part, 147 Fed. Cl. 131 (2020). See also ECF 74 at 6-7.
6
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                     2
